Dear Judge Leehy:
You have requested an opinion from our office regarding the establishment of an administrative judge's position within the Monroe City Court.
The Monroe City Court, as you describe it, is a three division court of limited jurisdiction. Your concern is that LSA-R.S.13:1878, which applies to courts having more than one division, may prohibit the creation of the position of administrative judge.
LSA-R.S. 13:1878 mandates:
     Where a city court is composed of two or more divisions, a candidate for nomination and election to the office of judge of the city court, at the time of filing his declaration as a candidate, shall designate the division of the court for which he is a candidate. The judge oldest in point of continuous service shall be the presiding judge, except that when they have served continuously the same length of time, the judge oldest in years shall be the presiding judge.
The position of administrative judge is not provided for under state law. Traditionally, it is the senior or presiding judge that carries out the administrative duties of the court. Absent any legal or jurisprudential guidance, this office cannot opine that the creation of the position and/or title of "administrative judge" is permissible under LSA-R.S. 13:1878.
However, this statute does not prohibit the presiding judge from delegating administrative duties to another judge of the court. This is a discretionary function of that position and may be executed by his or her own determination.
I trust this sufficiently addresses your concerns. If our office may be of further assistance, please do not hesitate to contact us.
Sincerely,
                        RICHARD P. IEYOUB ATTORNEY GENERAL
                        By: ___________________________ CARLOS M. FINALET, III Assistant Attorney General
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